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 5
                          UNITED STATES DISTRICT COURT
 6
                         EASTERN DISTRICT OF CALIFORNIA
 7
                                     AT FRESNO
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 9
     UNITED STATES OF AMERICA,
10                                            1:04-cr-5375 AWI
                        Plaintiff,
11
          vs.                                 ORDER TO SHOW CAUSE RE NON-
12                                            COMPLIANCE WITH ELECTRONIC
     FLORENCIO LOERA LOPEZ, et                FILING REQUIREMENT
13   al.,                                     (L.R. 5-133)
14                      Defendant.
15   ___________________________/
16

17                TO:   WOODROW NICHOLS
18                YOU ARE DIRECTED TO SHOW CAUSE by affidavit or
19   certificate why sanctions should not be imposed for your
20   failure to comply with the court's electronic filing
21   requirements.      Such affidavits or certificates are to be filed
22   within 11 days of service of this order.
23

24   DATED:     June 23, 2005
25                                        /s/ Anthony W. Ishii
                                          ANTHONY W. ISHII
26                                        U.S. District Judge
